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                          UNITED STATES DISTRICT COURT
 15                      CENTRAL DISTRICT OF CALIFORNIA
 16                            WESTERN DIVISION
 17
 18   JESSE ALEXIS TORRES,                   ) No. 2:20-cv-08183-RAO
 19                                          )
            Plaintiff,                       ) [PROPOSED]
 20                                          ) JUDGMENT OF REMAND
 21                v.                        )
                                             )
 22
      KILOLO KIJAKAZI, Acting                )
 23   Commissioner of Social Security,       )
 24
                                             )
            Defendant.                       )
 25                                          )
 26                                          )
                                             )
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  1         The Court having approved the parties’ Stipulation to Voluntary Remand
  2   Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
  3   (“Stipulation to Remand”) lodged concurrent with the lodging of the within
  4   Judgment of Remand, IT IS HEREBY ORDERED, ADJUDGED AND
  5   DECREED that the above-captioned action is remanded to the Commissioner of
  6   Social Security for further proceedings consistent with the Stipulation to Remand.
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  8   DATED: December 6, 2021
                                            HON. ROZELLA A. OLIVER
  9                                         UNITED STATES MAGISTRATE JUDGE
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